         Case 1:19-mj-00205-JFA Document 1 Filed 05/04/19 Page 1 of 1 PageID# 1


AO 9l (Rcv.   I   l/l l)   Criminal Complaint


                                                UNrrBn Srares Drsrrucr Counr
                                                                        for the
                                                             Eastem District of Virginia

                       United States of America                            )
                                         v.                                )
                                                                           )       Case No-
                    JENNIFER G. HERNANOEZ
                                                                           )
                                                                           )
                                                                                               1:1$mj-      a05
                                                                           )
                                                                           )
                                  Defendan(s)


                                                         CRIMINAL COMPLAINT
         l, the complainant in this case, state that the following is true to the best ofmy knowledge and belief.
On or about the date(s)             of                May 3 2019                  in the county   of               Fairfax                in the
        Eastem                District   of           Virginia         , the defendant(s)   violated:

              Code Seclion                                                           Ofense Descri4ion
32 C.F.R. S 1903.7                                     The defendant unlawfully, knowingly, and intentionally trespassed by
                                                       remalning on an Agency inslallation withoul proper authorization after being
                                                       ordered to leave.




         This criminal complaint is based on these facts:

See attached afiidavit.




         0        Continued on the attached sheet.



                                                                                                                   's   signoture
 SAUSA William Reed/AUSA Jonathan L. Fahey
                                                                                                            . Pena, Offlcer,        clA
                                                                                                        Pinted hone ond litle

Sworn to before me and signed in my presence.



Date:                May 4,2019
                                                                                                          Judgeb signature


                                                Alexandria, VA                        Hon. Mlchael S. Nachmanoff, U.S. Magistrate Judge
City and state:
                                                                                                   Ptinted name and lille
